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   6
       Attorneys for Defendant
   7   JEAN CHEN
   8
                            UNITED STATES DISTRICT COURT
   9
                           CENTRAL DISTRICT OF CALIFORNIA
  10
                                   WESTERN DIVISION
  11
  12
       SECURITIES AND EXCHANGE                  CASE NO. 2:17-cv-06929-PA-JEM
  13   COMMISSION,
  14                  Plaintiff,
                                                SECOND STIPULATION
  15         vs.
                                                AUTHORIZING DEFENDANT
  16   EDWARD CHEN, JEAN CHEN,                  JEAN CHEN TO SELL REAL
       HOME PARADISE INVESTMENT                 PROPERTY
  17   CENTER LLC, GH INVESTMENT LP,
       GH DESIGN GROUP, LLC, GOLDEN
  18   GALAXY LP, MEGA HOME, LLC,               Judge: Hon. Percy Anderson
                                                Courtroom: 9A
  19                  Defendant.
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                                                      SECOND STIPULATION AUTHORIZING
                                                     DEFENDANT JEAN CHEN TO SELL REAL
                                                                            PROPERTY
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   1          Plaintiff Securities and Exchange Commission (“Plaintiff”), by and through
   2   its undersigned counsel, and Defendants Jean Chen and Edward Chen (together, the
   3   “Chen Defendants”), by and through their undersigned counsel, hereby stipulate
   4   and agree as follows:
   5          WHEREAS, on September 20, 2017 Plaintiff filed this action against
   6   Defendants Edward Chen, Jean Chen, Home Paradise Investment Center LLC, GH
   7   Investment LP, GH Design Group, LLC, Golden Galaxy LP, and Mega Home, LLC
   8   (collectively, “Defendants”);
   9          WHEREAS, on September 20, 2017 the Court entered the Temporary
  10   Restraining Order, Order to Show Cause Why a Preliminary Injunction (“TRO”)
  11   Should Not Be Granted that preliminarily restrained and enjoined Defendants from
  12   “transferring . . . any funds, assets, securities, claims or other real or personal
  13   property . . . wherever located, of any one of the Defendants, or their subsidiaries or
  14   affiliates, owned by, controlled by, managed by or in the possession or custody of
  15   any of them . . . .”;
  16          WHEREAS, on October 16, 2017 the Court entered an Order re (1) Entry of
  17   Partial Preliminary Injunction; (2) To Continue Hearing re Order to Show Cause
  18   Why a Preliminary Injunction Should Not be Granted; and (3) Permit the Receiver
  19   to Engage EB-5 Counsel Pending Hearing on the Preliminary Injunction that
  20   continued the asset freeze from the Court’s September 20, 2017 TRO until
  21   5:00 p.m. on November 22, 2017;
  22          WHEREAS, Ms. Chen filed an accounting of her expenses pursuant to
  23   Section VII of the TRO with the Court on December 21, 2017;
  24          WHEREAS, the Court has previously modified the existing asset freeze in its
  25   Order Granting Stipulation for Release of Assets to Pay Real Estate Property Taxes
  26   and Order Granting Stipulation for Release of Assets to Pay Necessary Living
  27   Expenses (Dkt. No. 78);
  28                                                          SECOND STIPULATION AUTHORIZING
                                                             DEFENDANT JEAN CHEN TO SELL REAL
                                                  -1-                               PROPERTY
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   1         WHEREAS, the Court authorized Jean Chen to sell three parcels of real
   2   property in its June 22, 2018 Order Granting Stipulation Authorizing Defendant
   3   Jean Chen to Sell Real Property (Dkt. No. 155) (“June 22, 2018 Order”);
   4         WHEREAS, the Chen Defendants together own five parcels of real estate:
   5   four located at 10332 Jefferson St, Yucaipa, CA (APNs 0320-231-02, 0320-231-03,
   6   0320-231-09 and 0320-231-10) and one located at VAC/120 St. E./Vic Ave. K10
   7   Roosevelt, CA (APN 3370-011-004);
   8         WHEREAS, Four Star Realty Group, Inc. (“Four Star”) owns eight parcels of
   9   real estate: one located at California St., Yucaipa, CA (APN 0319-212-09); one
  10   located at Broadway, Joshua Tree, CA ( APN 0605-051-01); one located at La
  11   Ferney Rd., Joshua Tree, CA (APN 0605-051-09); one located at Fourth St., Joshua
  12   Tree, CA (APN 0605-051-12); one located at VAC/11th St. W./Vic Ave. N. 12,
  13   Palmdale, CA (APN 3005-015-021); one located at VAC/Vic Ave. W. 12/127 St.
  14   E., Pearblossom, CA (APN 3038-031-052); one located at VAC/Cor. 8 St. W./Ave.
  15   E. 8, Redman, CA (APN 3145-035-022); and one parcel located at Lake Elsinore,
  16   CA (APN 383-164-021); ;
  17         WHEREAS, Ms. Chen owns Four Star;
  18         WHEREAS, Ms. Chen would like to sell these real properties and place the
  19   proceeds from the sales of such real properties into either (1) a frozen account
  20   pending further order from the Court or (2) the fund control account for the Golden
  21   Galaxy Project’s lender;
  22
  23         NOW THEREFORE, the parties hereby STIPULATE that:
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  25            1. Ms. Chen may sell the thirteen parcels of real estate located at the
  26   below addresses:
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  28                                                        SECOND STIPULATION AUTHORIZING
                                                           DEFENDANT JEAN CHEN TO SELL REAL
                                                -2-                               PROPERTY
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   1              10332 Jefferson St, Yucaipa, CA (APN 0320-231-02, 0320-231-03,
   2                0320-231-09, 0320-231-10);
   3              VAC/120 St. E./Vic Ave. K10 Roosevelt, CA (APN 3370-011-004);
   4              California St., Yucaipa, CA (APN 0319-212-09);
   5              Broadway, Joshua Tree, CA (APN 0605-051-01);
   6              La Ferney Rd., Joshua Tree, CA (APN 0605-051-09);
   7              Fourth St., Joshua Tree, CA (APN 0605-051-12);
   8              VAC/11th St. W./Vic Ave. N. 12, Palmdale, CA (APN 3005-015-021);
   9              VAC/Vic Ave. W. 12/127 St. E., Pearblossom, CA (APN 3038-031-
  10                052);
  11              VAC/Cor. 8 St. W./Ave. E. 8, Redman, CA (APN 3145-035-022); and
  12              Lake Elsinore, CA (APN 383-164-021);
  13             2. Proceeds from the sales of these parcels of real estate, or the three
  14   parcels of real estate authorized for sale in the Court’s June 22, 2018 Order, may be
  15   transferred to the Golden Galaxy project’s lender’s fund control account, Dixieline
  16   Builders Fund Control Inc., ******4045 Fund contract No *9310 at Wells Fargo
  17   Trust Account – San Diego; and
  18             3. All proceeds from the sales of these parcels of real estate, or the three
  19   parcels of real estate authorized for sale in the Court’s June 22, 2018 Order, that are
  20   not transferred into the Golden Galaxy project’s lender’s fund control account must
  21   be placed into and remain in a frozen account pending further order from the Court.
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  28                                                        SECOND STIPULATION AUTHORIZING
                                                           DEFENDANT JEAN CHEN TO SELL REAL
                                                -3-                               PROPERTY
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   1           Respectfully Submitted and Agreed:
   2   DATED: August 22, 2018                  DONALD W. SEARLES
                                               JUNLING MA
   3                                           SECURITIES AND EXCHANGE
                                               COMMISSION
   4
   5
                                               By: /s/ Donald W. Searles
   6                                               DONALD W. SEARLES
   7                                           Attorneys for Plaintiff
                                               SECURITIES AND EXCHANGE
   8                                           COMMISSION
   9
  10
       DATED: August 22, 2018                  EDWARD GARTENBERG
  11                                           MILENA DOLUKHANYAN
                                               GARTENBERG GELFAND HAYTON
  12                                           LLP
  13
  14                                           By: /s/ Edward Gartenberg
                                                   EDWARD GARTENBERG
  15
                                               Attorneys for Defendant
  16                                           EDWARD CHEN
  17
  18   DATED: August 22, 2018                  NICOLAS MORGAN
                                               THOMAS A. ZACCARO
  19                                           PAUL HASTINGS LLP
  20
  21                                           By: /s/ Nicolas Morgan
                                                   NICOLAS MORGAN
  22
                                               Attorneys for Defendant
  23                                           JEAN CHEN
  24
       LEGAL_US_W # 95300270.3
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  28                                                   SECOND STIPULATION AUTHORIZING
                                                      DEFENDANT JEAN CHEN TO SELL REAL
                                            -4-                              PROPERTY
